                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO
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UNITED STATES OF AMERICA,

               Plaintiff,

       vs.                                                                    1:19-cr-01991 KWR

ANTONIO CARRILLO,

               Defendant.


                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court upon the Government’s Motion in Limine to

exclude any reference to penalties or sentencing before the jury, filed July 27, 2020 (Doc. 91).

The Court held a pretrial conference on August 6, 2020 and heard argument from the parties. For

the reasons stated on the record and herein, the Court finds that the Government’s motion is well

taken in part and therefore is GRANTED.

       The sentence or punishment following a guilty verdict is not relevant to the jury’s

determination. See Tenth Cir. Criminal Pattern Jury Instr. 1.20 (2011) (“You should not discuss

or consider the possible punishment in any way while deciding your verdict.”).

       “Unless a statute specifically requires jury participation in determining punishment, the

jury shall not be informed of the possible penalties.” United States v. Parrish, 925 F.2d 1293, 1299

(10th Cir. 1991) (sentence or punishment is “irrelevant to the jury’s task”) (overruled on other

grounds); see also United States v. Greer, 620 F.2d 1383, 1385 (10th Cir. 1980) (noting that absent

a statutory requirement that the jury determine punishment, “nothing is left ‘for jury determination

beyond the guilt or innocence of an accused.’”) (quoting Chapman v. United States, 443 F.2d 917,
920 (10th Cir. 1971)). Moreover, allowing a jury to consider punishment invites jury nullification

and is prejudicial. Crease v. McKune, 189 F.3d 1188, 1194 (10th Cir. 1999); Greer, 620 F.2d at

1384-85 (presenting information to jury about possible sentence is prejudicial). Therefore, the

Court will exclude any reference to punishment or sentence at trial.

       IT IS SO ORDERED.




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